    4:15-mj-03011-CRZ        Doc # 21   Filed: 02/24/15    Page 1 of 1 - Page ID # 41




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                               4:15MJ3011

      vs.
                                                                  ORDER
TIARA A. BLANCO-LIGGINS,

                      Defendant.

       The court has received a Financial Affidavit (CJA Form 23) signed by the above-
named defendant in support of Defendant’s request for appointed counsel. After a review
of the Financial Affidavit, the court finds the above-named defendant is currently eligible
for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and
Amended Criminal Justice Act Plan for the District of Nebraska.

       Accordingly,

       IT IS ORDERED:
       1)     Charles Steenson is appointed as attorney of record for the above-named
              defendant in this matter and shall forthwith file an appearance in this
              matter. The Federal Public Defender’s Office shall forthwith provide
              counsel with a draft appointment order (CJA Form 20) bearing the name
              and other identifying information of the CJA Panel attorney identified in
              accordance with the Criminal Justice Act Plan for this district.

       2)     The Clerk shall provide a copy of this order to the Federal Public Defender
              for the District of Nebraska and to the appointed attorney.

       February 24, 2015.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
